Case 1:22-cr-20326-KMM Document1 Entered on FLSD Docket 07/22/2022

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

22-20326-CR-MOORE/LOUIS

CASE NO.

UNITED STATES OF AMERICA

Pags MOTMM pc

Jul 21, 2022

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
3.D. OF FLA. - MIAMI

18 U.S.C. § 1343

18 U.S.C. § 1957

18 U.S.C. § 1028A(a)(1)
18 U.S.C. §2

18 U.S.C. § 981

18 U.S.C. § 982

VS.
ANDRE LORQUET,
Defendant.
/
INDICTMENT
The Grand Jury charges that:
GENERAL ALLEGATIONS

At all times relevant to this Indictment:

Payroll Protection Program

l. Congress passed and the President signed the Coronavirus Aid, Relief, and

Economic Security (“CARES Act”) Act in March 2020 to provide financial assistance to

Americans suffering economic harm from the COVID-19 pandemic. One source of relief provided

through the CARES Act was the authorization of forgivable loans to businesses for job retention

and certain other expenses, through a program called the Paycheck Protection Program (“PPP”).

2. To obtain a PPP loan, a qualifying business was required to submit a PPP loan

application, which was signed by an authorized representative of the business. The PPP loan

application required the business (through its authorized representative) to acknowledge the

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program rules and make certain affirmative certifications. In the PPP loan application (Small
Business Administration (“SBA”) Form 2483), the small business (through its authorized
representative) was required to provide, among other things, its: (a) average monthly payroll
expenses; (b) net profit; and/or (c) number of employees. These figures were used to calculate the
amount of money the small business was eligible to receive under the PPP. In addition, businesses
applying for a PPP loan were required to provide documentation confirming their payroll expenses.

3. The CARES Act required PPP loan applications to be processed by a participating
lender. If a PPP loan application was approved, the participating lender would fund the PPP loan
using its own monies, which were guaranteed by the SBA. Data from the application, including
information about the borrower, the total amount of the loan, and the listed number of employees,
were transmitted by the lender to the SBA to process the loan.

Economic Injury Disaster Relief Program

4. The Economic Injury Disaster Loan (“EIDL”) is an SBA program that provides
low-interest financing to small businesses, renters, and homeowners in regions affected by
declared disasters. One source of relief provided by the CARES Act was the authorization for the
SBA to provide EIDL loans of up to $2 million to eligible businesses experiencing substantial
financial disruption due to the COVID-19 pandemic. In addition, the CARES Act authorized the
SBA to issue advances of up to $10,000 to small businesses within three days of applying for an
EIDL. The amount of the advance was determined by the number of employees the applicant
certified having. The advances did not have to be repaid.

5. To obtain an EIDL and advance, a qualifying business was required to submit an
application to the SBA and provide information about its operations, such as the number of

employees and gross revenues and costs of goods sold for the 12-month period preceding the
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disaster. In the case of EIDLs for COVID-19 relief, the disaster was considered to have occurred
on January 31, 2020. The applicant was further required to certify that it was not engaged in any
illegal activity and that all of the information in the application was true and correct to the best of
the applicant's knowledge.

6. EIDL applications were submitted directly to the SBA and processed by the agency
with support from a government contractor, Rapid Finance. The amount of the loan, if the
application was approved, was determined based in part on the information provided in the
application about employment, revenue, and cost of goods, as described above. Any funds issued
under EIDL or an advance were issued directly by the SBA. EIDL funds could be used for payroll
expenses, sick leave, production costs, and business obligations such as debts, rent, and mortgage
payments.

Shuttered Venue Operator Grant

7. The Economic Aid to Hard-Hit Small Businesses, Nonprofits and Venues Act
(“Economic Aid Act”) was a federal law enacted in December 2020 to provide emergency
assistance to companies affected by COVID-19. One source of relief provided by the Economic
Aid Act was the Shuttered Venue Operators Grant (““SVOG”), which included over $16 billion in
grants to performing acts businesses.

8. SVOG’s purpose was to support the ongoing operations of eligible live venues and
operators, and associated companies like promoters and talent representatives, due to the
disruptions caused by the COVID-19 pandemic. Eligible applicants could qualify for grants
equivalent to45% of their gross earned revenue, with the maximum amount of $10 million

available for a single grant.
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9. To obtain an SVOG award, a qualifying applicant was required to submit an
application to the SBA and provide information about its operations, including contractual
agreements with talent, venues used, evidence of booking, and tax returns. The applicant was
further required to certify that the uncertainty of the then-current economic conditions made the
grant necessary to support the business’ ongoing operations.

10. Applications for SVOG grants were submitted directly to the SBA’s Office of
Disaster Assistance. The eligibility for a grant was determined in part based on the information
provided in the application about the applicant’s assets, contracts, and other business activity. The
amount of the grant, if the application was approved, was determined based in part on the
information provided by the application about gross revenue, dates of operation, and the amount
of funds already received in disaster compensation. Any funds issued under SVOG were issued
directly by the SBA. SVOG funds could be used for specific, enumerated expenses such as payroll
costs, rent and utility payments.

The Defendant and Related Entities and Individuals

11. Miami Ent, LLC (“MEL”) was a limited liability company organized under the
laws of the State of Florida. Its principal place of business was in Miami, Florida.

12. Defendant, ANDRE LORQUET, a resident of Miami-Dade County, Florida, was
the chief executive officer of MEL. .

13. BlueVine was a financial-technology company based in Redwood City, California.
BlueVine participated in the PPP by acting as a loan processor. Small businesses seeking a PPP
loan could apply through BlueVine, which would review the PPP loan applications. If a PPP loan
application received was approved for funding, a partner financial institution disbursed the loan

funds to the applicant.
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14. American Lending Centre was a private, non-bank lending institution

headquartered in Irvine, California. American Lending Centre was a participating lender in the

PPP program.
COUNTS 1-4
Wire Fraud
(18 U.S.C. §1343)
1. Paragraphs 1 through 14 of the General Allegations Section of this Indictment are

re-alleged and incorporated by reference as though fully set forth herein.

2. From in or around June 2020, through in or around November 2021, in Miami-
Dade County, in the Southern District of Florida, and elsewhere, the defendant,

ANDRE LORQUET,

did knowingly, and with intent to defraud, devise, and intend to devise a scheme and artifice to
defraud and to obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, knowing that the pretenses, representations, and promises were
false and fraudulent when made, and for the purpose of executing such scheme and artifice to
defraud, did knowingly transmit and cause to be transmitted by means of wire communications in

interstate and foreign commerce, certain writings, signs, signals, pictures, and sounds.

PURPOSE OF THE SCHEME AND ARTIFICE

3. It was the purpose of the scheme and artifice for the defendant, ANDRE
LORQUET, to unjustly enrich himself by submitting or causing others to submit, false and
fraudulent PPP, EIDL, and SVOG applications on behalf of MEL, seeking approximately $4.7
million in COVID-relief funds, and then using the subsequent loan proceeds for his personal use

and benefit.
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MANNER AND MEANS OF THE SCHEME AND ARTIFICE

The manner and means by which the defendant, ANDRE LORQUET, sought to
accomplish the scheme and artifice to defraud included, among others, the following:

4, ANDRE LORQUET submitted or caused the submission of PPP loan applications
to BlueVine and American Lending Centre for the benefit of MEL, seeking PPP loans in the
approximate amount of $431,291.

5. In each PPP loan application, ANDRE LORQUET falsely and fraudulently
inflated MEL’ prior-year expenses, net profit, and payroll. In support, LORQUET submitted false
and fraudulent IRS forms, which purported to report MEL’s expenses, net profit, and payroll.

6. As a result of the false and fraudulent PPP loan applications that ANDRE
LORQUET submitted and caused to be submitted, LORQUET received PPP loan funds in the
approximate amount of $431,291

7. ANDRE LORQUET submitted or caused the submission of, to the SBA, one
BIDL and EIDL advance loan application for the benefit of MEL, seeking an EIDL loan in the
approximate amount of $509,450.

8. In the EIDL application, ANDRE LORQUET falsely and fraudulently
misrepresented MEL’s prior year gross revenues and costs of goods sold, as well as the current
year’s number of employees.

9. As a result of the false and fraudulent PPP loan applications that ANDRE
LORQUET submitted and caused to be submitted, LORQUET received EIDL loan funds in the '
approximate amount of $124,800.

10. ANDRE LORQUET submitted or caused the submission of, to the SBA, one
SVOG application for the benefit of MEL, seeking an SVOG award in the approximate amount of

$2,716,901. LORQUET also submitted or caused to be submitted to the SBA one supplemental

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SVOG application, seeking a supplemental SVOG award in the approximate amount of
$1,358,451.

11. ‘In support of MEL’s SVOG application, ANDRE LORQUET submitted a false
and fraudulent letter, pretending to be a certified tax preparer, and included a false and fraudulent
IRS form, which purported to report MEL’s gross receipts and other income for tax year 2019.

12. Asaresult of the false and fraudulent SVOG application that ANDRE LORQUET
submitted and caused to be submitted, LORQUET received SVOG funds in the approximate
amount of $ 3,859,711.

13. ANDRE LORQUET obtained approximately $4.4 million in COVID-relief funds
as a result of his false and fraudulent applications, and used the fraudulently obtained funds for his
own personal use and benefit and the use of benefit of others.

USE OF THE WIRES

14. On or about the dates specified as to each count below, in Miami-Dade County, in

the Southern District of Florida, and elsewhere, the defendant,
ANDRE LORQUET,

for the purpose of executing, and in furtherance of, the aforesaid scheme and artifice to defraud
and to obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, knowing that the pretenses, representations, and promises were
false or fraudulent when made, did knowingly transmit and cause to be transmitted, by means of
wire communications in interstate and foreign commerce, certain writings, signs, signals, pictures,

and sounds, as more specifically described below:

COUNT | APPROX. DATE DESCRIPTION OF WIRE COMMUNICATION

1 June 3, 2020 The submission of an electronic PPP loan application on behalf
of MEL to BlueVine, causing a wire transmission from the
Southern District of Florida to outside the State of Florida

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COUNT

APPROX. DATE

DESCRIPTION OF WIRE COMMUNICATION

June 17, 2020

The submission of an electronic EIDL application on behalf
MEL to the SBA, causing a wire transmission from the
Southern District of Florida to outside the State of Florida

March 18, 2021

The submission of an electronic PPP loan application on behalf
of MEL to American Lending Centre, causing a wire
transmission from the Southern District of Florida to outside
the State of Florida

August 18, 2021

The submission of an electronic SVOG application on behalf
MEL to the SBA, causing a wire transmission from the
Southern District of Florida to outside the State of Florida

In violation of Title 18, United States Code, Section 1343 and 2.

1.

COUNTS 5-8
Money Laundering
(18 U.S.C. § 1957)

Paragraphs | through 14 of the General Allegations Section of this Indictment are

re-alleged and incorporated by reference as though fully set forth herein.

2.

On or about the dates set forth in each Count below, in Miami-Dade County, in the

Southern District of Florida, and elsewhere, the defendant,

ANDRE LORQUET,

did knowingly engage in, and attempt to engage in, a monetary transaction affecting interstate

commerce, by, through, and to a financial institution, in criminally derived property of a value

greater than $10,000, such property having been derived from a specified unlawful activity, and

knowing that the property involved in the financial transaction represented the proceeds of some

form of unlawful activity, as more specifically described below:

COUNT

APPROX. DATE

DESCRIPTION OF TRANSACTION

5

June 10, 2020

ACH debit, in the approximate amount of $93,439, from
MEL’s account ending in 2431 at TD Bank, for the purchase
of a Tesla Model S

June 24, 2020

Wire transfer, in the approximate amount of $29,000 from
MEL’s account ending in 2431 at TD Bank, for the purchase
of a Porsche Panamera GTS

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COUNT | APPROX. DATE DESCRIPTION OF TRANSACTION

7 December 1, 2021 | Wire transfer, in the approximate amount of $329,195, from
LORQUET?’s account ending in 3570 at TD Bank, for a
deposit on a Lamborghini Urus
8 December 6, 2021 | ACH debit, in the approximate amount of $158,653, from
MEL’s account ending in 2431 at TD Bank, for the purchase
of a Tesla Plaid

It is further alleged that the specified unlawful activity is wire fraud, in violation of Title
18, United States Code, Section 1343.
In violation of Title 18, United States Code, Section 1957.
COUNT 9
Aggravated Identity Theft
(18 U.S.C. § 1028A(a)(1)) \
On or about November 12, 2021, in Miami-Dade County, in the Southern District of
Florida, and elsewhere, the defendant,
ANDRE LORQUET,
during and in relation to a felony violation of Title 18, United States Code, Section 1343, that is,
wire fraud, as charged in Count 4 of this Indictment, did knowingly transfer, possess, and use,
without lawful authority, a means of identification of another person, that is, the name, address,

telephone number, and electronic filing identification number of “C.D.,” in violation of Title 18,

United States Code, Sections 1028A(a)(1) and 2.

FORFEITURE

1. The allegations of this Indictment are hereby re-alleged and by this reference fully
incorporated herein for the purpose of alleging forfeiture to the United States of America of certain
property in which the defendant, ANDRE LORQUET, has an interest.

2. Upon conviction of a violation of Title 18, United States Code, Section 1343, as

alleged in this Indictment, the defendant shall forfeit to the United States any property, real or
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personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title
18, United States Code, Section 981(a)(1)(C).

3. Upon conviction of a violation, or a conspiracy to commit a violation, of Title 18,
United States Code, Sections 1343, as alleged in this Indictment, the defendant shall forfeit to the
United States any property constituting, or derived from, any proceeds the defendant obtained,
directly or indirectly, as the result of such violation pursuant to Title 18, United States Code,
Section 982(a)(2)(A).

4, Upon conviction of a violation of Title 18, United States Code, Section 1957, as
alleged in this Indictment, the defendant shall forfeit to the United States any property, real or
personal, involved in such offense, and any property traceable to such property, pursuant to Title
18, Section 982(a)(1). The property subject to forfeiture as a result of this alleged offense includes
but is not limited to, the following:

(i) One (1) 2020 Tesla Model S, VIN# SYJSALE28LF399767;
(ii) One (1) 2019 Porsche Panamera GTS, VIN# WPOAG2A77KL 139387;
(iii) One (1) 2022 Lamborghini Urus, VIN# ZPBUAIZLINLA16143; and

(iv) One (1) 2022 Tesla Plaid, VIN# SYJSA1E66NF460071.
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All pursuant to Title 18, United States Code, Sections 981(a)(1)(C), and 982(a)(1), and
982(a)(2)(A), and the procedures set forth at Title 21, United States Code, Section 853 as

incorporated by Title 28, United States Code, Sections 2461(c) and 982(b)(1).

A TRUE BILL
FOREPERSON | |
Ky JUAN ANTONI GONZALEZ
TED STATES ATTORNEY _

IATHAN BAILYN
ASSISTANT UNITED STATES ATTORNEY
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:
v.
CERTIFICATE OF TRIAL ATTORNEY*
ANDRE LORQUET,
/ Superseding Case Information:
Defendant.

Court Division (select one) New Defendant(s) (Yes or No)

Miami II Key West FTP Number of New Defendants

FTL Ei WPB Total number of New Counts
I do hereby certify that:

1. I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.

2. [am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

3. Interpreter: (Yes or No) No
List language and/or dialect:

4, This case willtake 8 days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I £1 Oto 5 days Petty

II 6 to 10 days Minor

Il 11 to 20 days Misdemeanor
IV [121 to 60 days Felony

Vv 61 days and over

6. Has this case been previously filed in this District Court? (Yes or No) No
If yes, Judge Case No.
7. Has a complaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.
8. Does this case relate to a previously filed matter in this District Court? (Yes or No) No
If yes, Judge Case No.
9. Defendant(s) in federal custody as of
10. Defendant(s) in state custody as of
11. Rule 20 from the District of
12. Is this a potential death penalty case? (Yes or No) No
13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No

By: J (don

RR —
Toga n Bailyn
Assistant United States Attorney

Court ID No. A5502602

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: _ Andre Lorquet

Case No:

Counts #: 1-4

Wire Fraud

Title 18, United States Code, Section 1343

* Max. Term of Imprisonment: 20 Years’ Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release: 3 Years

* Max. Fine: $250,000

Count #: 5-8

Money Laundering

Title 18, United States Code, Section 1957

* Max. Term of Imprisonment: 10 Years’ Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release: 3 Years

* Max. Fine: $250,000

Count #: 9

Aggravated Identity Theft

_ Title 18, United States Code, Section 1028A(a)(1)
* Max. Term of Imprisonment: 2 Years’ Imprisonment Consecutive to Any Other Sentence
* Mandatory Min. Term of Imprisonment (if applicable):
* Max. Supervised Release: 3 Years
* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
